                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                   No. CR05-4097-MWB
 vs.                                                                ORDER
 GUILLERMO CORTEZ-AYALA and
 GERSON GALICIA-SANTOS,
                 Defendants.
                                    ____________________


         This matter is before the court on the motion (Doc. No. 22) of the defendant
Guillermo Cortez-Ayala (“Cortez”) to sever the trial of his case from that of his
codefendant Gerson Galicia-Santos (“Galicia”).        Cortez argues joinder of the defendants’
cases for trial will prejudice him unfairly and prevent him from confronting witnesses
against him.
         Cortez and Galicia are charged in a two-count Indictment with possession of
methamphetamine         with   intent   to     distribute,   and   conspiracy    to   distribute
methamphetamine.        Cortez argues Galicia has made statements that incriminate both
himself and Cortez, and Cortez expects the plaintiff (the “Government”) to introduce
those statements at the trial.    Cortez argues that unless Galicia testifies, Cortez will be
unable to confront Galicia about the statements that incriminate Cortez, and Galicia’s
testimony cannot be compelled because of his Fifth Amendment right against self-
incrimination.    Therefore, Cortez argues the defendants’ cases must be severed for trial
to provide him with an opportunity to conduct meaningful cross-examination of Cortez.




       Case 5:05-cr-04097-MWB-LTS            Document 29     Filed 10/11/05     Page 1 of 3
       The Government resists severance, noting the Eighth Circuit Court of Appeals
recognizes a “‘strong presumption against severing properly             joined cases.’”   (Doc.
No. 27 at 2-3, quoting United States v. Noe, 2005 WL 1353938 (8th Cir. June 9, 2005)).
The Government claims Cortez cannot show that his defense is irreconcilable with that
of his codefendant, or that the jury will be unable to compartmentalize the evidence
against the individual defendants, and therefore the trials should not be severed.        (Id. at
3, citing United States v. Mickelson, 378 F.3d 810, 818 (8th Cir. 2004)).
       The Government further claims any potential Bruton problems can be cured by
appropriate redactions from Galicia’s statements. (Id. at 4-5, citing Bruton v. United
States, 391 U.S. 123, 88 S. Ct. 1620, 20 L. Ed. 2d 476 (1968); United States v.
Coleman, 349 F.3d 1077, 1085 (8th Cir. 2003); United States v. Logan, 210 F.3d 820
(8th Cir. 2000)). The Government notes the existence of mutually antagonistic
defenses is not enough to warrant severance. (Id. at 6-7, citing United States v.
Zafiro, 506 U.S. 534, 538, 113 S. Ct. 933, 937-38, 122 L. Ed. 2d 317 (1993);
United States v. Flores, 362, F.3d 1030, 1039-40 (8th Cir. 2004)).
       The court finds Cortez has failed to overcome the presumption against
severance. See United States v. Delpit, 94 F.3d 1134 (8th Cir. 1996). Indeed, it is
more the rule than the exception that codefendants will attempt to point the finger at
one another to avoid conviction. Cortez must be able to show the jury would be
“unable to compartmentalize the evidence against each defendant or that the
defendants’ defenses are irreconcilable” – a heavy burden. United States v. Warfield,
97 F.3d 1014, 1019 (8th Cir. 1996).
       Although severance is favored where there is danger of real prejudice to an
individual defendant, United States v. Kirk, 534 F.2d 1262, 1269 (8th Cir. 1976),



                                                2



    Case 5:05-cr-04097-MWB-LTS            Document 29        Filed 10/11/05     Page 2 of 3
Cortez must do more than argue his chances of conviction may be higher if the trials
are not severed. See United States v. Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995).
       Therefore, Cortez’s motion to sever is denied.
       IT IS SO ORDERED.
       DATED this 11th day of October, 2005.




                                           PAUL A. ZOSS
                                           MAGISTRATE JUDGE
                                           UNITED STATES DISTRICT COURT




                                              3



    Case 5:05-cr-04097-MWB-LTS           Document 29       Filed 10/11/05    Page 3 of 3
